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UNITED sTATES DISTRICT COURT ammar orr cnaoa:lao

FORTHE DISTRICT OF COLORADO 2§!@ H§Y § '} §§ ;Q: 52
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Maxine Shepard, et al C`;,;_?\’$i
P.O. Box 60731 Case No. 1:18-vc-OlBO$8-KMT B€R ala

Colorado Springs, CO 80960

V.

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United States Depamnent of Veteran Affairs |
810 Verrnont Aveenue, NW |
Washington, DC 20420 |
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United States Department of Defense |
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1400 Defense Pentagon
Washington, DC 20301

St. David’s Medical Center
12221 Mopac Expressway North
Austin, TX 78758

 

FIRS'I` AM]E‘.NDED COMPLAINT AND DEMAND FOR JURY TRAIL

Plaintiff Maxine Shepard et al, sues the Department of Veterans Affairs et al., and requests as
follows:

Plaintiff would like to remove Defendant Austin Dental Works for this Complaint.

Austin Dental Works did play a part in furthering the depraved actions of the Departrnent of
Veterans Affairs. However, Plaintiff would like them removed from this complaint and reserves
the right to pursue legal action in a separate civil action as the law allows.

JURISDICTION

Jurisdiction in this action comes under 28 U.S.C., Section 636(c) and D.C.COLO.LcivR 40.1(c),
concerning Nonconsent to United States Magisu"ate Judge Jurisdict_ion. According to these rules,
if one party declines, no order of reference is entered or it is vacated and the civil action shall be
assigned to a district judge.

ATURE OF THIS ACTION

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Plaintiff declines to the exercise of jurisdiction by a U.S. Magistrate Judge.

The Defendants have engaged in outrageous, negligent and illegal conduct that should be
punished to the maximum extent under the law. The Defendants, the Departrnent of
Veterans Affairs, unlawfully implanted Plaintiff, Maxine Shepard With microchips,
caused harm to her daughter, and unlawfully entered Plaintiff’s home and implanted
Plaintiff’s service animal with a microchip on the right side of his skull.

DEMAND FOR JURY TRIALAND ASSIGNMENT OF DISTRICT JUDGE

 

The Defendants actions represent a depraved disregard for the law as is the case in an
over-powerful, unchecked, unaccountable government The actions of the Defendants
warrant being tried in an open court. The Plaintiff has suffered numerous injuries due to
the actions of the Deparnnent of Veterans Affairs and deserves restitution for her injuries,
her daughters’ injuries and those of her service animal in accordance with the FTCA and
all applicable laws.

Plaintiff, Maxine Shepard hereby demands a trial by jury and respectfully declines
appointment of a magistrate judge.

   

Maxine Shep d, x ' laintiff
P.O. Box 60731
Colorado Springs, CO 80960

 

Anna A. Siaw-Sappore,
Secondary Plaintiff

P.O. Box 60731

Colorado Springs, CO 80960

